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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


 Criminal Case No. 20-cr-00305-DDD-03

 UNITED STATES OF AMERICA,

      Plaintiff,

 v.

 Jonathan K. Yioulos,

      Defendant.



            VOLUNTARY SURRENDER ORDER SUPPLEMENTING JUDGMENT



          The Judgment imposed on December 3, 2024, directed Defendant to surrender to the
 institution designated by the United States Bureau of Prisons for service of sentence. The
 United States Bureau of Prisons has designated the Lewisburg Satellite Camp. Accordingly,


          IT IS ORDERED that Defendant, Jonathan K. Yioulos, shall surrender himself by
 reporting to the Warden at the Lewisburg Satellite Camp, on January 21, 2025, by 12:00 pm.
 Travel will be at his own expense.


          DATED at Denver, Colorado, this 15th day of January, 2025.


                                          BY THE COURT:


                                          ______________________________
                                          Daniel D. Domenico
                                          United States District Judge
